                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN

    DAVID VAN ELZEN, individually, and on              Case No.
    behalf of all others similarly situated,
                                                     CLASS ACTION COMPLAINT
                  Plaintiff,
                                                     DEMAND FOR JURY TRIAL
    v.

    HEALTHCARE SOLUTIONS TEAM,
    LLC, a Illinois company,

                  Defendant.


                                CLASS ACTION COMPLAINT

         Plaintiff David Van Elzen (“Van Elzen” or “Plaintiff”) brings this Class Action

Complaint and Demand for Jury Trial against Defendant Healthcare Solutions Team, LLC

(“HST” or “Defendant”) to stop HST from violating the Telephone Consumer Protection Act by

directing its salespeople to send unsolicited and autodialed text messages to consumers,

including to consumers registered on the National Do Not Call registry, and to otherwise obtain

injunctive and monetary relief for all persons injured by HST’s conduct. Plaintiff, for his

Complaint, alleges as follows upon personal knowledge as to himself and his own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by his attorneys.

                                        INTRODUCTION

         1.     HST is a health, dental, life and medicare supplements insurance brokerage

company that does business throughout the U.S. It represents many nationwide insurance carriers

such as United Healthcare, Aetna, BlueCross BlueShield and Humana.1




1
    http://www.myhst.com/
       2.        In order to solicit new business, HST directs its salespeople to cold call and send

unsolicited and autodialed text messages to consumers who have not given prior express written

consent to receive such calls or texts, including consumers who have specifically registered with

the National Do Not Call Registry (“DNC”) to avoid such unwanted calls and text messages.

       3.        In Plaintiff’s case, HST sent multiple unsolicited autodialed text messages to his

cellular phone, despite Plaintiff having his phone number registered with the DNC to avoid such

text messages.

       4.        In response to these text messages, Plaintiff files this class action lawsuit seeking

injunctive relief, requiring Defendant to cease directing its salespeople to send unsolicited text

messages to consumers’ cellular telephone numbers using an automatic telephone dialing system

without consent and otherwise texting telephone numbers registered on the DNC, as well as an

award of statutory damages to the members of the Classes.

                                              PARTIES

       5.        Plaintiff Van Elzen is a Menasha, Wisconsin resident.

       6.        Defendant HST is an Illinois company headquartered in Lombard, Illinois.

Defendant conducts business throughout this District, the State of Wisconsin, and throughout the

United States.

                                  JURISDICTION AND VENUE

       7.        This Court has federal question subject matter jurisdiction over this action under

28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

§227 (“TCPA”).

       8.        This Court has personal jurisdiction over Defendant and venue is proper in this

District under 28 U.S.C. § 1391(b) because Defendant does significant business in this District,




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and because the wrongful conduct giving rise to this case was directed from or into this District.

Plaintiff resides in this District.

                                      COMMON ALLEGATIONS

HST Directs Its Salespeople to Violate the TCPA by Sending Unsolicited Texts to
Consumers, Including Consumers Who Are Registered on the DNC

        9.        Defendant HST provides its salespeople with leads for them to call and/or text to

generate sales for their company.

        10.       Leads are provided to the salespeople from various lead sources, some more

reputable than others.

        11.       Several current and former salespeople have complained about receiving poor

leads from HST:

              •   “The leads they provide you are extremely bad. In order to get sales, you have to

                  be very friendly and know people.”2

              •   “Lots of cold calling on cold leads.”3

              •   “The company provides you with the latest software/CRM. You have access to

                  FREE leads.”4

              •   “HST, there is a world of training, support and FREE leads.”5

              •   “You will get free leads as well as access to paid leads as well.”6




2
  https://www.indeed.com/cmp/Healthcare-Solutions-Team/reviews
3
  Id.
4
  Id.
5
  Id.
6
  Id.
                                                                                                      3
               •   “Their leads are not direct. There are a bunch of people that someone pull up

                   from statistics book. You can get really cursed out for at least one month before

                   finding a client.”7

               •   “As others have mentioned...leads provided are mediocre and overworked. You'll

                   do best if you cold call and network.”8

        12.        Essentially, HST is directing its salespeople to telemarket for HST to the leads it

supplies them.

        13.        As explained by the Federal Communications Commission (“FCC”) in its 2012

order, the TCPA requires “prior express written consent for all autodialed or prerecorded

[solicitation] calls to wireless numbers and residential lines.” In the Matter of Rules and

Regulations Implementing the Telephone Consumer Protection Act of 1991, CG No. 02-278,

FCC 12-21, 27 FCC Rcd. 1830 ¶ 2 (Feb. 15, 2012).

        14.        Yet in violation of this rule, Defendant fails to obtain any express written consent

prior to sending autodialed solicitation text messages to cellular telephone numbers such as

Plaintiff’s.

        15.        In HST’s own press release, HST credits their success to their LeadMaster system

which they claim is “the most advanced lead and client management system the industry has ever

seen.”9 One of the main reasons they are able to sign up so many new customers is that HST’s

Leadmaster has a “fully integrated auto dialing, bulk texting and email functions.”10 (emphasis




7
  https://www.glassdoor.com/Reviews/Healthcare-Solutions-Team-Insurance-Broker-Reviews-
EI_IE425802.0,25_KO26,42.htm
8
  https://www.indeed.com/cmp/Healthcare-Solutions-Team/reviews
9
  https://www.prweb.com/releases/2013/2/prweb10442712.htm
10
   Id.
                                                                                                         4
added) HST remarked that “We have added to an already dynamic technology, which allows

Healthcare Solutions Team agents to out produce any other agents in the industry.”11

           16.   In fact, within HST’s CRM provided to every HST agent there is a mass texting

messaging option.




                                 PLAINTIFF’S ALLEGATIONS

Plaintiff Received Unsolicited, Autodialed Text Messages to His Cell Phone Number
Despite Having Registered His Phone Number on the DNC

           17.   On June 10, 2011, Plaintiff’s cellular telephone number was registered on the

DNC in order to avoid receiving unsolicited calls and text messages.



11
     Id.
                                                                                                 5
         18.    On August 7, 2018 at 10:55 am, Plaintiff received an unsolicited autodialed text

message from Defendant using phone number (630) 427-4736. The text message states, “Hi

David. My name is Heidi. Are you looking for health,dental or life insurance? Could I send you a

quote either via text or email?”

         19.    Shortly thereafter, also on August 7, 2018, Plaintiff received a second unsolicited,

autodialed text message from Defendant using phone number (630) 427-4736 stating, “Hi David,

I am an independent broker with Healthcare Solutions Team my site: http://hjames.myhst.com/”

         20.    Plaintiff received a third autodialed text message on August 7, 2018 from

Defendant using phone number (630) 427-4736 stating, “I have access to multiple carriers if you

decide you would like a quote, thank you! Heidi”

         21.    As per the text messages, the salesperson works for Healthcare Solutions Team.

Following the website link provided in the text message (http://hjames.myhst.com/) leads to:




         22.    All of the text messages Plaintiff received were from (630) 427-4736. Upon

information and research, calling (630) 427-4736 leads to an automated system that thanks the

caller for calling Healthcare Solutions Team. The message then goes on to identify the address as

being HST’s headquarters – 1900 South Highland Avenue #203, Lombard, IL 60148.12




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     http://www.myhst.com/
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       23.     Plaintiff replied to Defendant on August 7, 2018 after receiving the third text

confirming, “what is the name of your agency n do you have a website?”

       24.     The agent replied back at 12:47 pm on August 7, 2018 with a text message

stating, “http://hjames.myhst.com/” and then, “I am a broker with Healthcare Solutions Team[.]”

       25.     Plaintiff does not have a relationship with HST or any of its affiliated companies,

nor has he ever requested that HST call him or consented to any contact from Defendant.

       26.     Simply put, HST did not obtain Plaintiff’s prior express written consent to send a

solicitation text message to him on his cellular telephone using an autodialer or otherwise.

       27.     The unauthorized text messages sent by HST, as alleged herein, have harmed

Plaintiff in the form of annoyance, nuisance, and invasion of privacy, and disturbed Van Elzen’s

use and enjoyment of his phone, in addition to the wear and tear on the phones’ hardware

(including the phones’ battery) and the consumption of memory on the phone.

       28.     Seeking redress for these injuries, Van Elzen, on behalf of himself and Classes of

similarly situated individuals, brings suit under the Telephone Consumer Protection Act, 47

U.S.C. § 227, et seq., which prohibits unsolicited autodialed text messages to cellular telephones

and unsolicited text messages to telephone numbers registered on the DNC.

                                    CLASS ALLEGATIONS

Class Treatment Is Appropriate for Plaintiff’s TCPA Claims

       29.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)

and Rule 23(b)(3) on behalf of himself and all others similarly situated and seeks certification of

the following two Classes:

       Autodialed No Consent Class: All persons in the United States who from four
       years prior to the filing of this action (1) Defendant (or an agent acting on behalf of
       Defendant) texted, (2) on the person’s cellular telephone number, (3) using
       substantially the same equipment used to text Plaintiff, (4) for substantially the
       same reason Plaintiff was texted, and (5) for whom Defendant claims (a) it obtained
       prior express written consent in the same manner as Defendant claims it obtained
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       prior express written consent to text Plaintiff, or (b) Defendant did not obtain prior
       express written consent.

       Do Not Call Registry Class: All persons in the United States who from four years
       prior to the filing of this action (1) Defendant (or an agent acting on behalf of
       Defendant) texted more than one time on his/her residential telephone, (2) within
       any 12-month period, (3) where the telephone number had been listed on the
       National Do Not Call Registry for at least thirty days, (4) for substantially the same
       reason Plaintiff was texted, and (5) for whom Defendant claims (a) it obtained prior
       express written consent in the same manner as Defendant claims it obtained prior
       express written consent to text Plaintiff, or (b) Defendant did not obtain prior
       express written consent.

       30.     The following individuals are excluded from the Classes: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, its

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents

have a controlling interest and their current or former employees, officers and directors; (3)

Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Classes; (5) the legal representatives, successors or assigns of any such excluded

persons; and (6) persons whose claims against Defendant have been fully and finally adjudicated

and/or released. Plaintiff anticipates the need to amend the Class definitions following

appropriate discovery.

       31.     Numerosity: On information and belief, there are hundreds, if not thousands of

members of the Classes such that joinder of all members is impracticable. This is apparent from

the fact that HST provides leads and autodialers to its salespeople.

       32.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the Classes, and those questions predominate over any

questions that may affect individual members of the Classes. Common questions for the Classes

include, but are not necessarily limited to the following:

               (a) whether Defendant utilized an automatic telephone dialing system to send text
                   messages to Plaintiff and the members of the Autodialed No Consent Class;

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               (b) whether Defendant systematically sent multiple text messages to Plaintiff and
                   consumers whose telephone numbers were registered with the National Do
                   Not Call Registry;

               (c) whether Defendant sent autodialed text messages to Plaintiff and members of
                   the Classes without first obtaining prior express written consent to send the
                   texts;

               (d) whether Defendant’s conduct constitutes a violation of the TCPA; and

               (e) whether members of the Classes are entitled to treble damages based on the
                   willfulness of Defendant’s conduct.

       33.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Classes, and has retained counsel competent and experienced in class

actions. Plaintiff has no interests antagonistic to those of the Classes, and Defendant has no

defenses unique to Plaintiff. Plaintiff and his counsel are committed to vigorously prosecuting

this action on behalf of the members of the Classes, and have the financial resources to do so.

Neither Plaintiff nor his counsel has any interest adverse to the Classes.

       34.     Appropriateness: This class action is also appropriate for certification because

Defendant has acted or refused to act on grounds generally applicable to the Classes and as a

whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the members of the Classes and making final class-wide injunctive relief

appropriate. Defendant’s business practices apply to and affect the members of the Classes

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with

respect to the Classes as wholes, not on facts or law applicable only to Plaintiffs. Additionally,

the damages suffered by individual members of the Classes will likely be small relative to the

burden and expense of individual prosecution of the complex litigation necessitated by

Defendant’s actions. Thus, it would be virtually impossible for the members of the Classes to

obtain effective relief from Defendant’s misconduct on an individual basis. A class action



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provides the benefits of single adjudication, economies of scale, and comprehensive supervision

by a single court.

                                  FIRST CAUSE OF ACTION
                              Telephone Consumer Protection Act
                                 (Violations of 47 U.S.C. § 227)
                  (On Behalf of Plaintiff and the Autodialed No Consent Class)

       35.       Plaintiff repeats and realleges paragraphs 1 through 34 of this Complaint and

incorporates them by reference herein.

       36.       Defendant and/or its agents sent unwanted solicitation text messages to cellular

telephone numbers belonging to Plaintiff and the other members of the Autodialed No Consent

Class using an autodialer.

       37.       These solicitation text messages were sent en masse without the consent of the

Plaintiff and the other members of the Autodialed No Consent Class to receive such solicitation

text messages.

       38.       Defendant’s conduct was negligent, willful, or knowing

       39.       Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a result of

Defendant’s conduct, Plaintiff and the other members of the Autodialed No Consent Class are

each entitled to, under 47 U.S.C. § 227(b)(3)(B), a minimum of $500.00 in damages for each

violation of such act.

       40.       In the event that the Court determines that Defendant’s conduct was willful and

knowing, it may, under 47 U.S.C. § 227(b)(3)(C), treble the amount of statutory damages

recoverable by Plaintiff and the other members of the Autodialed No Consent Class.




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                                SECOND CAUSE OF ACTION
                             Telephone Consumer Protection Act
                                 (Violation of 47 U.S.C. § 227)
             (On Behalf of Plaintiff Van Elzen and the Do Not Call Registry Class)

       41.      Plaintiff repeats and realleges the paragraphs 1 through 34 of this Complaint and

incorporates them by reference herein.

       42.      The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered his or her telephone number on the national do-not-call registry of persons

who do not wish to receive telephone solicitations that is maintained by the federal government.”

       43.      47 C.F.R. § 64.1200(e), provides that § 64.1200(c) is “applicable to any person or

entity making telephone solicitations or telemarketing calls to wireless telephone numbers.”13

       44.      Any “person who has received more than one telephone call within any 12-month

period by or on behalf of the same entity in violation of the regulations prescribed under this

subsection may” may bring a private action based on a violation of said regulations, which were

promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

solicitations to which they object. 47 U.S.C. § 227(c).

       45.      Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

text message solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry

Class members who registered their respective telephone numbers on the National Do Not Call

Registry, a listing of persons who do not wish to receive telephone solicitations that is

maintained by the federal government.




13
   Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003) Available at
https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-153A1.pdf
                                                                                                   11
       46.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call

Registry Class received more than one text message in a 12-month period made by or on behalf

of Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendant’s

conduct as alleged herein, Plaintiff and the Do Not Call Registry Class suffered actual damages

and, under section 47 U.S.C. § 227(c), are entitled, inter alia, to receive up to $500 in damages

for such violations of 47 C.F.R. § 64.1200.

       47.     To the extent Defendant’s misconduct is determined to be willful and knowing,

the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by the members of the Do Not Call Registry Class.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

following relief:

   a) An order certifying the Classes as defined above; appointing Plaintiff as the

       representative of the Classes; and appointing his attorneys as Class Counsel;

   b) An award of actual and/or statutory damages to be paid into a common fund for the

       benefit of Plaintiff and the Classes;

   c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

   d) A declaratory judgment that Defendant’s text messaging equipment constitutes an

       automatic telephone dialing system under the TCPA;

   e) An injunction requiring Defendant to cease all unsolicited texting activity, and to

       otherwise protect the interests of the Classes; and

   f) Such further and other relief as the Court deems just and proper.




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                                          JURY DEMAND

       Plaintiff requests a jury trial.

                                              Respectfully Submitted,

                                              DAVID VAN ELZEN, individually and on behalf
                                              of those similarly situated individuals



Dated: July 11, 2019                          By: /s/ Stefan Coleman

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